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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

                                   6                                          SAN JOSE DIVISION

                                   7

                                   8                                                        Case No.19-mc-80208-VKD
                                            REQUEST FROM THE DISTRICT
                                            COURT OF LUGANO, SWITZERLAND
                                   9        FOR INFORMATION FROM OATH                       ORDER RE EX PARTE APPLICATION
                                            HOLDINGS, INC.
                                  10                                                        FOR DISCOVERY PURSUANT TO 28
                                                                                            U.S.C. § 1782
                                            RE Marta Jankovska v. PKB Privatbank
                                  11
                                            S.A., RE NO. OR.2016.233                        Re: Dkt. No. 1
                                  12
Northern District of California
 United States District Court




                                  13

                                  14            The United States, on behalf of the District Court of Lugano, Switzerland (“Swiss Court”),

                                  15   has filed an ex parte application for an order pursuant to 28 U.S.C. § 1782 authorizing service of a

                                  16   subpoena commanding Oath Holdings, Inc. (“Oath”) to produce documents in response to a

                                  17   proposed subpoena.1 Dkt. Nos. 1, 3, Exs. 6 & 6A.

                                  18            The Court grants the application, subject to the modifications described below.
                                  19   I.       BACKGROUND
                                  20            According the application, the Swiss Court requests the United States’ assistance in

                                  21   obtaining evidence from Oath in connection with a civil case, Marta Janokovska v. PKB

                                  22   Privatbank SA, No. OR.2016.233. The case concerns an alleged unauthorized transfer of funds

                                  23   from an account held by the plaintiff with PKB Privatbank. The Swiss Court seeks information

                                  24   from Oath concerning two Yahoo! email accounts that are alleged to have been hacked and then

                                  25   used to direct the unauthorized transfer of funds. Dkt. No. 2 at 2-3; Dkt. No. 3, Ex. 1. The United

                                  26   States says that Oath Holdings resides or is found in Sunnyvale, California. Dkt. No. 2 at 6; Dkt.
                                  27
                                       1
                                  28    As explained below, there is some ambiguity about the form of discovery the United States
                                       seeks.
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                                   1   No. 3 ¶ 5.

                                   2           The United States asks the Court to appoint Assistant United States Attorney Michael T.

                                   3   Pyle as Commissioner for the purpose of issuing a subpoena to Oath. Dkt. No. 2 at 10.

                                   4   II.     LEGAL STANDARD
                                   5           Pursuant to 28 U.S.C. § 1782, a district court may order the production of documents or

                                   6   testimony for use in a foreign legal proceeding, unless the disclosure would violate a legal

                                   7   privilege. 28 U.S.C. § 1782(a); Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 246–

                                   8   47 (2004). The statute may be invoked where: (1) the discovery is sought from a person residing

                                   9   in the district of the court to which the application is made; (2) the discovery is for use in a

                                  10   proceeding before a foreign tribunal; and (3) the applicant is a foreign or international tribunal or

                                  11   an “interested person.” Id. at 246.

                                  12           A district court is not required to grant an application that meets the statutory criteria, but
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                                  13   instead retains discretion to determine what discovery, if any, should be permitted. Intel, 542 U.S.

                                  14   at 264. In exercising that discretion, the court considers several factors:

                                  15                (1) whether “the person from whom discovery is sought is a participant in the foreign

                                  16                   proceeding”;

                                  17                (2) “the nature of the foreign tribunal, the character of the proceedings underway

                                  18                   abroad, and the receptivity of the foreign government or the court or agency abroad

                                  19                   to U.S. federal-court judicial assistance”;

                                  20                (3) whether the discovery request “conceals an attempt to circumvent foreign proof-

                                  21                   gathering restrictions or other policies of a foreign country or the United States”;

                                  22                   and

                                  23                (4) whether the discovery requested is “unduly intrusive or burdensome.”

                                  24   Intel, 542 U.S. at 264–65.

                                  25           A district court’s discretion is guided by the twin aims of § 1782: providing efficient

                                  26   assistance to participants in international litigation, and encouraging foreign countries by example

                                  27   to provide similar assistance to our courts. Schmitz v. Bernstein Liebhard & Lifshitz LLP, 376

                                  28   F.3d 79, 84 (2d Cir. 2004). The party seeking discovery need not establish that the information
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                                   1   sought would be discoverable under the governing law in the foreign proceeding or that United

                                   2   States law would allow discovery in an analogous domestic proceeding. See Intel, 542 U.S. at

                                   3   247, 261–63.

                                   4            Applications brought pursuant to 28 U.S.C. § 1782 typically are considered on an ex parte

                                   5   basis, since “‘parties will be given adequate notice of any discovery taken pursuant to the request

                                   6   and will then have the opportunity to move to quash the discovery or to participate in it.’” IPCom

                                   7   GmbH & Co. KG v. Apple, Inc., 61 F. Supp. 3d 919, 922 (N.D. Cal. 2014) (quoting In re Republic

                                   8   of Ecuador, No. C10-80225 MISC CRB (EMC), 2010 WL 3702427, at *2 (N.D. Cal. Sept. 15,

                                   9   2010)). “Consequently, orders granting § 1782 applications typically only provide that discovery

                                  10   is ‘authorized,’ and thus the opposing party may still raise objections and exercise its due process

                                  11   rights by challenging the discovery after it is issued via a motion to quash, which mitigates

                                  12   concerns regarding any unfairness of granting the application ex parte.” In re Varian Med. Sys.
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                                  13   Int’l AG, No. 16-mc-80048-MEJ, 2016 WL 1161568, at *2 (N.D. Cal. Mar. 24, 2016).

                                  14            Unless the district court orders otherwise, the discovery authorized by the court must be

                                  15   obtained in accordance with the Federal Rules of Civil Procedure. 28 U.S.C. § 1782(a); In re

                                  16   Letters Rogatory from Tokyo Dist. Prosecutor’s Office, Tokyo, Japan, 16 F.3d 1016, 1020 (9th

                                  17   Cir. 1994).

                                  18   III.     DISCUSSION
                                  19            A.     Statutory Requirements
                                  20            The United States’ application satisfies the three statutory requirements of 28 U.S.C.

                                  21   § 1782(a). The Swiss Court is a foreign tribunal and has asked for discovery for use in a

                                  22   proceeding currently pending before the Swiss Court.2 Dkt. No.2 at 2-3; Dkt. No. 3, Ex. 1. The

                                  23   United States requests authorization to serve a subpoena for documents on Oath, which has an

                                  24   office in Sunnyvale, California in this district and has indicated that will receive service of a

                                  25   subpoena at that office. Dkt. No. 3 ¶ 5, Ex. 5.

                                  26
                                       2
                                  27    Although the request from the Swiss Court to the United States is dated March 28, 2019 and the
                                       case appears to have been filed in 2016, there is no indication on the record presented that the
                                  28   proceeding for which the discovery is sought has been concluded. See Khrapunov v. Prosyankin,
                                       931 F.3d 922, 925 (9th Cir. 2019).
                                                                                         3
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                                   1          The application is not entirely clear regarding the form of discovery requested. Although

                                   2   the United States asks the Court to authorize service of a document subpoena, the proposed

                                   3   subpoena simply attaches the Swiss Court’s letter of request, which includes the following

                                   4   requests for information about the two Yahoo! Accounts:

                                   5                  1. When the account has been created (date and time).
                                   6                  2. What browser and IP address has benn[sic] used to create the
                                                      account.
                                   7
                                                      3. What user data was entered when setting up an account (user
                                   8                  name, address, phone, …)
                                   9                  4. Full log of account activities (date and time, activiy[sic] type,
                                                      client bowser and IP adress[sic] in particular, log of all deletion of e-
                                  10                  mails.
                                  11                  5. Full log of account password changes (date and time, client
                                                      browser and IP adress[sic]).
                                  12
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                                                      6. In addition, please let us know if it is possible thaht[sic] the
                                  13                  above mentioned accounts were affected by a data breach.
                                  14

                                  15   Dkt. No. 3, Exs. 6 & 6A. Some of these requests are framed as questions and others as requests

                                  16   for documents. Complicating matters, the memorandum supporting the United States’ application

                                  17   says that it seeks an order “to obtain testimony from [Oath] in the form of . . . answers to several

                                  18   questions, some of which may be answered by producing documents . . . .” Dkt. No. 2 at 1.

                                  19          Under § 1782(a), a district court may order a person to “give his testimony or statement or

                                  20   to produce a document or other thing.” 28 U.S.C. § 1782(a). The statute does not authorize a

                                  21   district court to order such person to respond to interrogatories. See, e.g., Siemens AG v. Western

                                  22   Digital Corp., No. 13-cv-1407-CAS-(AJWx), 2013 WL 5947973, at *5 (C.D. Cal. Nov. 4, 2013);

                                  23   In re Application for an Order for Judicial Assistance in a Foreign Proceeding in the Labor Court

                                  24   of Brazil, 466 F. Supp. 2d 1020, 1033 (N.D. Ill. 2006) (interpreting § 1782(a) “to include

                                  25   depositions and document production, but not interrogatories”); see also Hague Convention on the

                                  26   Taking of Evidence Abroad in Civil or Commercial Matters, art. 10, opened for signature March

                                  27   18, 1970, 23 U.S.T. 2555(directing that “the requested authority shall apply the appropriate

                                  28   measures of compulsion in the instances and to the same extent as are provided by its internal law
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                                   1   for the execution of orders issued by the authorities of its own country or of request made by

                                   2   parties in internal proceedings”); California Practice Guide: Federal Civil Procedure Before Trial

                                   3   § 11:1298 (The Rutter Group 2019) (“There is no authority, however, for a court to order a

                                   4   ‘person’ within the district (party or nonparty) to respond to interrogatories or RFAs.”).

                                   5          As the United States attaches for the Court’s review only a subpoena for documents, the

                                   6   Court will construe the application as a request to serve a document subpoena on Oath, and not a

                                   7   request for testimony. Where the letter of request frames the inquiry as a question, rather than a

                                   8   request for documents, the Court will construe the application as a request to serve a subpoena for

                                   9   documents that are sufficient to show the information described in the question.

                                  10          B.      Intel Factors
                                  11          Even if the Court has the authority to grant the application, the Court is not required to do

                                  12   so. Intel, 542 U.S. at 247. In determining whether judicial assistance under § 1782 is appropriate,
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                                  13   the Court must consider the additional Intel factors.

                                  14                  1.      Participation of Target in the Foreign Proceeding
                                  15          Although this factor addresses whether the person from whom discovery is sought is a

                                  16   party to the foreign proceeding, “the key issue is whether the material is obtainable through the

                                  17   foreign proceeding.” In re Varian Med. Sys., 2016 WL 1161568 at *3 (internal quotations and

                                  18   citation omitted).

                                  19          It appears from the application that Oath is not a party to the civil action before the Swiss

                                  20   Court, and the documents sought by subpoena are located in the United States. Dkt. No. 3 ¶ 5, Ex.

                                  21   5. The Court infers that the Swiss Court would not seek the assistance of the United States in

                                  22   obtaining these documents if the documents were within the reach of the Swiss Court’s

                                  23   jurisdiction. In these circumstances, the need for assistance pursuant to § 1782(a) is greater than it

                                  24   would be in circumstances where the foreign tribunal may order parties appearing before it or third

                                  25   parties within its jurisdiction to produce evidence. Intel, 542 U.S. at 264. This factor weighs in

                                  26   favor of authorizing service of the subpoena.

                                  27                  2.      Receptivity of Foreign Tribunal to U.S. Judicial Assistance
                                  28          Under this factor, the Court considers “the nature of the foreign tribunal, the character of
                                                                                         5
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                                   1   the proceedings underway abroad, and the receptivity of the foreign government or the court or

                                   2   agency abroad to U.S. federal-court judicial assistance.” Intel, 542 U.S. at 264. “This factor

                                   3   focuses on whether the foreign tribunal is willing to consider the information sought.” In re

                                   4   Varian Med. Sys., 2016 WL 1161568 at *4. “[I]f there is reliable evidence that the foreign

                                   5   tribunal would not make any use of the requested material, it may be irresponsible for the district

                                   6   court to order discovery, especially where it involves substantial costs to the parties involved.” Id.

                                   7   (internal quotations and citation omitted).

                                   8          Courts have denied requests for discovery where the foreign tribunal or government

                                   9   expressly says it does not want the U.S. federal court’s assistance under § 1782. See, e.g.,

                                  10   Schmitz, 376 F.3d at 84–85 (affirming the denial of discovery where the German government

                                  11   expressly objected to the information sought due to concerns that it would jeopardize an ongoing

                                  12   German criminal investigation, as well as German sovereign rights); In re Ex Parte Application of
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                                  13   Qualcomm Inc., 162 F. Supp. 3d 1029, 1040–41 (N.D. Cal. 2016) (concluding that this Intel

                                  14   factor weighed heavily against discovery where the Korean Fair Trade Commission filed an

                                  15   amicus brief stating that it had no need or use for the requested discovery). Here, however, the

                                  16   request for assistance originates with the foreign tribunal itself. Accordingly, this factor weighs in

                                  17   favor of authorizing service of the subpoena.

                                  18                  3.      Circumvention of Proof-Gathering Restrictions
                                  19          Under this factor, the Court considers whether the Swiss Court’s request for discovery

                                  20   “conceals an attempt to circumvent foreign proof-gathering restrictions or other policies of a

                                  21   foreign country or the United States.” Intel, 542 U.S. at 265. “‘A perception that an applicant has

                                  22   side-stepped less-than-favorable discovery rules by resorting immediately to § 1782 can be a

                                  23   factor in a court’s analysis.’” In re Varian Med. Sys., 2014 WL 1161568 at *5 (quoting In re

                                  24   Cathode Ray Tube (CRT) Antitrust Litig., No. C07-5944-SC, 2013 WL 183944, at *3 (N.D. Cal.

                                  25   Jan. 17, 2013)). Here, as with the second factor, the foreign tribunal itself seeks evidence in aid of

                                  26   its own proceeding. Accordingly, this factor also weighs in favor of authorizing service of the

                                  27   subpoena.

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                                                      4.      Unduly Burdensome or Intrusive Discovery
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                                               Under this factor, the Court considers whether the discovery is sought is “unduly intrusive
                                   2
                                       or burdensome.” Intel, 542 U.S. at 265.
                                   3
                                               As described above, the United States seeks an order authorizing service of a document
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                                       subpoena concerning two Yahoo! accounts. According to the application, the authorized user of
                                   5
                                       the two accounts has testified in the Swiss Court proceeding that the accounts were hacked and
                                   6
                                       used without her knowledge or permission. The information sought in the Swiss Court’s letter of
                                   7
                                       request appears tailored to an investigation of these particular allegations. The United States
                                   8
                                       affirmatively represents that the proposed subpoena does not seek the contents of any email
                                   9
                                       communications. Dkt. No. 2 at 8. Accordingly, this factor weighs in favor of authorizing service
                                  10
                                       of the subpoena.
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                                       IV.     CONCLUSION
                                  12
Northern District of California




                                               The United States’s application on behalf of the Swiss Court meets the statutory criteria for
 United States District Court




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                                       an order authorizing service of a document subpoena on Oath. In addition, the factors that inform
                                  14
                                       the Court’s exercise of its discretion under Intel also favor authorizing service of the subpoena.
                                  15
                                               Accordingly, the Court authorizes service of the proposed subpoena on Oath. However,
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                                       the proposed subpoena may not be served in its current form. As noted above, the Swiss Court’s
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                                       letter of request includes questions as well as requests for production of documents. The United
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                                       States may serve a document subpoena on Oath that includes document requests only and it may
                                  19
                                       need to reformulate the Swiss Court’s questions, as appropriate, to clarify that the subpoena seeks
                                  20
                                       the production of documents.3
                                  21
                                               This order does not foreclose a motion to quash or to further modify the subpoena by Oath
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                                       following service, or by any other interested party. The Court orders the United States and Oath to
                                  23
                                       comply with the following requirements to ensure all interested persons have an opportunity to
                                  24
                                       contest the subpoena if they wish:
                                  25
                                               1. The Court appoints AUSA Michael T. Pyle to serve the proposed subpoena on Oath
                                  26
                                  27
                                       3
                                  28    The United States may wish to correct the typographical errors noted above before serving the
                                       subpoena.
                                                                                      7
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                                   1            and to receive documents produced in response to the subpoena.

                                   2         2. At the time of service of the subpoena, the United States must also serve a copy of this

                                   3            order on Oath. The return date on the subpoena must be at least 30 calendar days from

                                   4            the date of service.

                                   5         3. Within 7 calendar days of receipt of the subpoena and this order, Oath shall provide

                                   6            copies of the subpoena and this order to any owners or users of the accounts.

                                   7         4. Within 14 calendar days from the date of receipt of copies of the subpoena and this

                                   8            order, any interested person may file a motion in this Court contesting the subpoena

                                   9            (including a motion to quash or to modify the subpoena). Such motion shall be served

                                  10            on Oath and the United States (to the attention of AUSA Michael T. Pyle).

                                  11         IT IS SO ORDERED.

                                  12   Dated: August 26, 2019
Northern District of California
 United States District Court




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                                  14
                                                                                                 VIRGINIA K. DEMARCHI
                                  15                                                             United States Magistrate Judge
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